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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MINNESOTA


CALIFORNIA PUBLIC EMPLOYEES’
RETIREMENT SYSTEM, individually and
on behalf of all others similarly situated,
                                                         Case No. 0:24-cv-01743-JMB-DTS
                             Plaintiffs,
v.

UNITEDHEALTH GROUP INC.,
ANDREW WITTY, STEPHEN
HEMSLEY, and BRIAN
THOMPSON,

                             Defendants.


                       DEFENDANTS’ 1 MOTION TO DISMISS
             PLAINTIFF’S SUPPLEMENTAL CONSOLIDATED COMPLAINT


        Defendants UnitedHealth Group Incorporated, Andrew Witty, and Stephen Hemsley

(collectively, “Defendants”), by and through their undersigned counsel of record, respectfully

move this Court for an Order, pursuant to 15 U.S.C. §78u-4 and Rules 8, 9(b), and 12(b)(6) of

the Federal Rules of Civil Procedure, dismissing Plaintiff’s Supplemental Consolidated

Complaint for Violations of the Federal Securities Laws (ECF No. 79) with prejudice. As set

forth in Defendants’ accompanying Memorandum of Law in Support of their Motion to Dismiss,

filed contemporaneously with this Motion, the Complaint fails to state a claim upon which relief

may be granted.




1
 The Motion to Dismiss is brought by Defendants UnitedHealth Group Incorporated, Andrew Witty, and Stephen
Hemsley. Defendant Brian Thompson is deceased.
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       This Motion is based upon all the files, records, and proceedings in this action, and upon

Defendants’ Memorandum of Law in Support of their Motion to Dismiss and the Declaration of

Michael G. Bongiorno and accompanying exhibits submitted herewith.


Date: February 28, 2025                             Respectfully submitted,

                                                    /s/ Michael G. Bongiorno
                                                    Michael G. Bongiorno

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